               Case 3:24-cv-00767-RSH-MSB                                                                            Document 1-2                               Filed 04/29/24                                   PageID.12                            Page 1
                                                                                                                           of 8
 -l.J;S. Dep8rtment of Justice·
                                                                                                           l::X H 11::S I I A                                                                                                  0MB No. 1140-00 l 1 ( 12/31 i2025)

·Bureau of Alcohol,-Tobacco, Firearms :ind Expl~sives
                                                                                                                                               ApplicatiQn .to Make and Register a Firearm •

A..TF Control NUmoer                            2d24610201
To': Bureau µf Aklihol, Tobacco, Fircam1s .ai~d Explosives, P.O. Box 5015_. Portland, OR 97208-5015, National Fin~arms AcJ Divi'sion (NFA)
(Suhmit in duplicate.
            .          Please, do not staple documents. 'See ins(mctiOns attached.)
As required by Sectioi:is 582 l(b), 5822, and 5841 oftfie National Firemms Act, Title 26 U.s.c:, Chapter ·53, the    L Type of Application (cheGk one)
uilde;·signed herei:iv.submits aoplication td mab; and register_the firearm Oescribed below.· •
2.   Application is made by:·          Corpo_rqtion  D~ Individual . "3a. TradeNamC (If any)                                                                                                         0 a.,·Tax P.aid. Submit Yo;1r tax pay~cnl otS_200
                                                                                                                                                                                                             _with the a~plication. The tax may be paid .
D Other Legal Entity                             .
                                                     □ Tnist                   D qov<Yrnmcnt                                                                                                                    by. crcdit-pr_dchit_Card. check, or moncy_ordcr.
                                                                                      . Entity·             ."               .                                                                                 Please Wmplctc itcin 2Q. Upon approval of
                                                                                                                                                                                                             , the app!icatioti, We will affix and Cancel the. required
3b. Applicant's Full Legal Nai.ne ,an~l _full MaiJing Address (Type or p1'in~ below) (See instmction 2.D)                                                                                                    . National Fircanns,Act Stamp.         •            '
                                                                                                                                                                                                                  . -         .
 GARY RASHEED SANCHEZ                                                                                                            3d. County/Pmish                                                              (See ins1mctio11 2.t:;_' and 3)
 9941 RJO VALLE DR           '
 B_ONSALL, CA 92003; UNITEO STA.TES                                                                                              SAN DIEGO                                                           Db 1":ix 'Exempt. ?·il-carm i: being made on
                                                                                                                                                                    .
                                    -                    .-                       -                    .             '           3e .. Telephorie Nu~tber                            -                          bclmlf of thc,U\litcd States, _of a~y (kparllTlcnl,_.
                                                                                                                                                                                                               iili:lependent establishment, or agency lhetcot:
                                    ..                                                                                           (323) 979-2905                                              ,            - Tax
                                                                                                                                                                                                            " Excn:1pt. Ftre.!l-m is hcing!113dc by oron
           -          -                                                                                                                                                                              .




                                            -                                                   ..                               Jfs E~mail Address                                              .             behalf o( any State or posscssio1i of the United Statci;.
                                                                                                                                                                                                               or any polititol subdivision thereof, or.any
                                                                                                                                 GARY.R,SANCHEZ@9MAIL.COM                                                      official police orgrulizntion of sud1 a go"\.·emn1ent
                       .       .-                                                                                                                                                                              entity engnged !n cril11llml investigation.~.
3c. If P.O. Box is Shown Above, Street Address Mus\ be Given Here

                                                                                                       ,
                                                                                                                                                                                                     D c. taxpvrsunntt0Title'.!6U.S.C.
                                                                                                                                                                                                           Tax Exempt. Fh-eannisnotsuhjecttothe
                                                                                                                                                                                                                                                To  §§ 780!,"7805.
                                                                                                                                                                                                                                                                   making
                                                                                                                                                                                                                                                                    confum
                                                                                                                                      "                                                                       , -the application qualifici: for tax-free- registration, ATF
                                                                                                                                                                                         '                       may require additio1ia! suppo11ing documeata,ticin,
                                                                                                                                                                                 '
             -                         .                         '
4. Descrintion of FirellnU (Comnlete items a throuf!h k) (S~e instruction 2.J)
                                                                                                                                               ,
                                                                                                                                                                                                             , . i:;uch·as_photographs of the fifca1m to be registered.

a.        Name :ind Address of Original Manufacturer and/6r_                                               b.        Type of Firearm to be M:tde                   C.    Calib.er '                  ,i "Modcl·-(As marked ofl.firearm)
          Ii~porter'ofFircarm (ff any)
           .                                                                                               -         (See definition 2.K)
                                                                                                                     ((fa destructiv_i deviC~.
                                                                                                                                                                            dr
                                                                                                                                                                           Gatlge~
                                                                                                                                                                                                     Fr:N.3                                .
                                                                                                                                                                                                           Barret Length                       f.     Ov'erall Length
                                    .                                                                                complete item 4.J)         .                       (Spccffv of!e)               '·
                                                                                                                                                                                                                                          . 8.5
                           .
                                                                                                                                                                                                                                           I
                   .FORM 1, RE~ISTRATION: UNITED STATES                                                                     -SILENCER                 ..
                                                                                                                                                                          -
                                                                                                                                                                           :5.56                     g. Sr,rial Number
                                                                                                                                                                                                         000000000·1           •
                                                                                                                                                                                                                                                                       .
 h. Additjunal,Description Jl11dicate required Maker:~ Markings to include Mqker '.1·                                                          i. • ~-ecifl Wbl{·You lnfend To Make Fi.ccarm (Use additional shee: ffn~cessmy)
    name· as re§'/jistei-ed. cffi\·i, and State as.each wilfaffiwear,on,Arem111~ • •                                                           PER            N~, ·us                    - .
 t~L~~~T~&sr~sRESS , ~ADE; F~OM ~-P~ ~ .- -~HAS ~ FRO K~AN_E
               .                                                                                                ·,                        .            ...                                                                                      '
      '                                 .                                         .                                                           ,, ..
 J. Type of Destructive Dev19e (Check one ?ox):                           D F1rear~ D Explosives (fftlte E1Fplgs1yes box is checked,
                                                                                                                            '
                                                                                                                                     compl~te item 5 and.see m~·tructam 2:M)
                                                                                                                                                      .                .
          !fan Ex1;1Iosive '!ype)Jestructive Device. Please prdyide additiOnal d~scrip[ion: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 k, Is This· Fireafm Being Reactivat'ed?                      CJ Yes . ~ No (See de/i11Wo11_ l.KJ
 5.        Applicant's Federal Firearm8 License (llany) 01: Explosives Lice.'11se or Permit Num_ber 6.                                                     Special (Ocwpational) Tax,St~tus (f:J~OT) (lf applicable) (SJ_,e d-t.ifi,niffonsj
           I;1or Notification Purposes, per RegUiati~Q 479.62,,Pl~ase Provide 15-Digit
           Numbe"r
                                                                                                                                              ra. , Employer Identificatipn Number                                                   b.    (Jass



  Under Penalties oJ PcrJury, I declare that l have. examined tlus apphcatwn, including accompanymg dqcuments, and to the'bestof my knowledge and ,belief Ll LS
, fnie_, a,::curate and complete. a_nd the riiaking and possession of,t4e firearm described .above would nOt constitute a violation of Title 18, U'."S.C',, Cha'pter 44, •
  Title 26, U .S.C., Chapter 53; or any prOvisions of State_or local law.                           •      •                                                           -
 1:        Signature of Appli9ant                                                                                    8.   Name and Title.of Authorized Official                                                                                       9.     Date
     DIGITALLY.SIGNED                                                                                                GARYRf.SHEED'SANCHEZ                                                                                                             04/23/2024
                                                                                                                                                                                                                                                              .               .)
                                                              The spa.cc below is f?r the use of the Bureau of Akohl_)l,_.TObaccii, firearms and Explosives
 By authority of the Qi rector, Bureau of Alcohol, Tobacco, Fireanns_ and EXplosives, this Application l_1as bee11 Examine"d'and_theApplicam's Making and Registration of the
 .Firefmn·described above is:                                 • •         •                                                                                                   •
 □ Approved (With thejOllowingcondilions, !fany) •                                                                                            0 Disapproved (For che jOlfoiving·reasom)
                                                                                                                                                       SEE THEA.lTACHED l'N.E FOR THE REASON FOR THE DISAPPRO'fM.

 Authorized ATF OfficialAuthOrized.                              • ~~::~"'*""!m!Nfl\                                                                                                                                                                       Date.
                                                                  [11-,<"""-uth<;l!<:<IHl'llOi>i,lo"

                                        . '
                                            NFA Divjsion
                                                   •   -.
                                                                  o(fl{O!Oo•V•rtouofM'F,))I.Wlf'
                                                                  !)i;,i'"""..-..l~tlFA;ia;tf,\IO<,<><V~
                                                                                                                                                                                                                                                           0_4/.29/2024 _

 ,Prevmus Editions Are Oo:mrere-·
                                                                                                                                                                                                                                                    ATF Form 1 (5320.1)
                                                                                                                                     ATF C:opy                                                                                                      Revised December 202i
              Case 3:24-cv-00767-RSH-MSB                                          Document 1-2                             Filed 04/29/24                          PageID.13                   Page 2
                                                                                        of 8
                                                    MAKER'S CERTi:VICATION (,wtcQmplrted bv'a GOVE.Rl'VMENT ENTIT}J
 to.   Law inforcemrint Notification (See iristructimz 2.H)                                                                    •
'Each a{lplicant_is to provide notification ofthi_:: proposed making an~ possessio,11 of the fir~atm describ.ed On.this Forin l by pfovidiug a C0py ofthe·c~mplete_d form to the
                                                                                                                                                                                  1
 Chief Law Enforcement Officei· (CLEO) inilie agenc)' identified befow: -                   .                ,                  -          ·       •                  ··      - '
        '                                  ,                                           '                           ,                  ,                   -                                          ,
  SAN DIEGO COUNTY SHERIFF,                                                                               KELLY MARJINEZ, SHERIFF
 Age1lcy or D~partment Name                                                                              ,Name anq Title ofOffitial

  962f RIDGEf-!A\fEN CT, SAN DIEGO, CA, 92123, UNITED STATES

 Address (Street aefdress ~;- P.O. Box, City, S1~1te and ZIP.Cod~'} tc- which sent (A°fai!ed ;;: de/h'E;red)

                                                   Information foi; the Chie~ Law Enforce~ent Office1·                                                                  12. Photograp\i ~
                                                                                                                              ,,
 This form provides notification of the applicant's· i~tent to make and re"gister11 NFA fi.feunn. N-0 action is required by'the CI.;EO.
 However, should the.CLEO have information that may disqualify this ·person ·from making of possessing.a firearm, please'
 con.tact the NFA Divisi'~n at (3'04) 616~4500 or NFA@a,,tf.gov.                                                   -
 Maker's Quest!ons·(CompleJe only-whet! the maker is an individual)
                                                                                                                                             1
 Answer the followiTI i.1estions' b I checlcin or marking ~ither the "yes•· or "no'"· box to the right of the nestions.
 11 .• AnsweF questions 11.a. through 11.m. Answer questions 13, 15, 16 and 17 if a.pplict\ble. For any "Ves" anSwer
       t~e aPplica.nt-Slrnll provide details Oifa separate _sheet. (Sre i"'n:aruct{01i 7.C d~d-definitfons)

                                                                                                                                                  Yes         No
a.  Do you intend to m11ke 11nv firemm lisl'ed On this fonn for sale or-other disposition-to anyJJerson desd·jbed in
    questions 11.c through I1.i, -or a-persoti 4escribed in question 11.m' wl10 does not f~ll tmder an. excepti,;m?
b. Do you intend to sell or otlunwise·dispose of any fireann listed on !his fonn in furtheranc~ of any felony or other

                                                                                                                                                 □ 0
    offense punishable by.imprisonment for a tenn of more till.In olle year, a Federal crime of terr01ism, Or a drug _:
  • lmffickmg offe~se? . '
 c. Arc you under-indictment or infonnation in ally· court fur<!- felony, or any other crime, for which the judge, ,, -
    could ·imprison· you ~or more than orre year? (5iee ,definhio11 _1.N)
 d. Have you evetbeen convicted in any court for a felony, or any other crime,.forWhich the judge CTluldhaveimprisoned you
    for more than one year, even if Y!)U rceyivcd ·a shorter sentence including probation? (See-definition I .NJ
 e. Are ydll a fugitive from~il!,stice? (See definitihn 1. T)
                                                                                                                                                 □ 0
f. Are y0u an,tmlawful user of, or, addicted to, marijuana or any ·depressant, stimulant, narcotic tlrug, or any
    otlier '?onfrolled substance'? War~ing: The iise or pos_sessio:O Of marijriana remains unlawful under
    Federal Jaw rcgiirdless' pf whether it has be~n legalized ord~p:iminalizcd for medicinal •
   .or recreational Jmrposes in the state Where you res-ide.
 g. Haye· you ever been adjudicated as a mental defe6tive OR have you ever been couimitted t0 a 1.nental,
        institution? (See definition J:O iind l.P)                                              '

                                                                                                                                                 □ 0
h. J:Iave you been, Qischarged (rom lhe'Anned ForcCs tinder d}shon0rable ·conditions'?
 i. Arc you subject to a.c0urfordcr restraining You fr9m harassfog, stalking, or thJcatcn"iiig your child or an
    intimate partner or child of such partner? (Se/d~/initio11 _J .Qj .   •      -
j.' Have yoU ever.•beef1 conYicte_tl.i11 any court·of,ll misdCmeanor crime-of domestic violehcc?. (&e d4/inition l._RJ
k. •, Have you ever renou!1ced Y9ur United Statcs.citizeusl:_ip'.?
 l.     Arc you an -a~i:cn illegally of,unlawfully in the United Stfltcs?

m. l. Are you an alien w~o _h_as ~een~ admitted to theJJnited States und_er_a n.onin1migrant visa'.                        . □·Yes'       , [?I No

m.2. -If"Ye,s"-, do you fall within\111; ofthJexceptiofls stated in the instr~_ctions? Attadi the documentation to {he applic~tion.                                 -□ Yes ,,ij No                 ~ NIA
 If If you are an fi!ie1l, record yow· l.J.s,.Jssued Alien or Adinission· number (A.Rf USCIS#, or 194#):.

 14:· Have)'ou been issued a Unique Pe1'sonal .Identi,f_lcatfon Number"(UPIN)? (Se<~ instruction 2.FJ    Yes               D     D No TfYes please list
 15. Social Security ~umber:· (See instruction 2.F)                                          Date ofBirth:

l 6il., Ethnicity            • ~ I·f.isj:>anic Or Latino          16b. Race
                                                                                  □ American [ndian Ior Alai;ka Native                           □ Black or African American
                             ' [J NotHispan~c or Latino                           •D       Asian.-                                               D      Native Hawaiian ol''Other Pacific rslander
 17a. Country of Citizenship:· (Check/li.rit more than one; ifapplii:able. Nationals of the Unit<!d Stµte,~ may check U.S.A.) (See deji.,iition I.S)
             , '         .     .   •           "                              ,             .                          '                    .                       '



17b. State of Birth                                                                                           l 7c.Coimtry of Birth
 CA -                                                                                                        UNlTED·ST~TE·s OF AMERlc'A,.US
;CERTIFICA'PION: Under penalti~s imposed hy-18 U.S.C. § 924 and 2-6 U.S.C. § 5861, I certify that, 'tlpon submission of this form tni\TF, a completed copy of this form
 will be directed-to the CLEO showit in itCm I 0, that the statements, as applicable, coritainc'd in t~'is certifica_!ion, il1_1d any attached dllcu1.11ents in support theni0f, ftre true and
 coriect to thli best of my knoWledge and belief._ NOTE: _S~ ~structio0s 2.D(2) a~d 2.0(3) for the-items to be c01IIJ)Ieted de}Jending on the type of applicant                   '
      DIGITJ\LLY SIGNED GARY RASHEE.D-6ANCHEZ
                                                                                                                       04/23/2024
            Si!,,TJtature of M...iker                                                                                  Date
                                                                                                                                                                                            AT•F Forni l (5320._I)
                                                                                                    , .<\lT Copy                                                                            Revised December 2022
                 Case 3:24-cv-00767-RSH-MSB                                      Document 1-2                  Filed 04/29/24                      PageID.14              Page 3
                                                                                       of 8
     18. Number of Responsible Persons (sf& rJefa3itions) associated wit~,the applicant tn.lst or leg_al entity"·---------~----,,-
     19. Provide the full_ nalrie' {printed or typed) below for each.Respohsible Person. asso;iated· with the applici~nl trust_ ~lrlegiil entity (iffh·e;-e iife mOre'RespOnsihle Persoris than •
         can be listed on the.'form; at/Jach a·s~parate sheet !i.~ting ihe-additionQJ.Re,r,ponsib?e'Person(s)). Please not.C that a completed form 5320.23, National FircanusAct
        •(NFA)_Responsible Person ~estionn.lire, m~st be.sttb~itted with 'the Form 1. application :(ur each•Respodsible Person.                                         -
     Pull Name                                                                                            'Ful!'Na.me




     20: -Method of Payment (Che~k o/te} (~ee in,-\·tructioil 2.1) (if payingby-credi'tld(;!bit card, complete the sectJ..011s below),'
      D Check (J::nclosed)                D Cashier's Check or •                  D Yisa            D Mastcrca·rd.          D American                  D DrsCover            D Diners Club •
                                          ·-     Money Order (Enc~osed)                                                     - f:".'l(press   ...
    •Credit/Debit Card Number (Np dash~·;                                                     . Name as Phnted on the Credit/Debit Ca.rd •                   Expiration' Date (Month & yea,}


                             Address:,·
     Credit/Debit Card
     Billing Address:        City:.                                                    State:

                                                                                                                                                   Tax'Am6unt:
                                                                                                                                                    $
      I A'utJwrize A.TF to_charge my Credit/Debit Card the Above Amount.'
             '     .                  ,                ..



                                               • Signature of Card holder                                                                                        Dat_e

    . Your credit/debit card >Yill be Charged the_ abov.e st3:ted ~mounl uP:m1 receipt of your hpplication. The charge will be-refle~l~d on Y~mr ccedjtfdebit card s.tatei:nenL
      ln the ev_ent your application is NOT approved, the ~bove amount wil_l be credited·fo _the creditidebit C:ard nOted abo\le.
                                                                      J(Qpoi:timt ~nfo1:mation fiir Currently Registered Fi~earms

)    If yo_u are the cunent registrant·9fth: fin:artl1 described_.011 !his forrn_, please qqte the foll~wing inf~1mation.
          ~   •                                                                      '.                         . •-                       .                         -               .
     Estate Procedures: For procedures regarding the lransfe(of fireaf"ms in• an estate resulting from the death of the registrant identi'fieil in item 3b,· tDe ex.ec;u1or should cOntact,
     the NFA Division'. Bureau of ATf:. 244 Need)' R~itd, Martinsbu_rg, WV 2~405'-or c_ontUct via ~mail at•NFAFAX@ATF.gov for addition~] ~ssi~tance.                                   •

     Interstate M_OVement_: If the fireanllldentified in item 4 is a ·machinegull, short-barreled rifle, short-barreled shotgun, or desfructiv~ device, the registriint ma)' he
     required by _18 U.S.C. § 922(a)(4) to ob~ain permiS~ion froin ATF pribr to·any transpOrl:a.tioll jn interstate-or foreign com1i1erce. ATF Funn 532,0.20 can be us'~d-to- requeM.this
     pcnnission.

     chang_c of Description or Address: The registr~nt shall notify th.c•Nati~nitl Firearms Act Division, National S(:_rvice Center, Bureau of Alcohol, Tobacco, Firearms and ,
     Explosives, 244 Needy Road, Martinsbul·g, WV 25405, in writing, of~ny clmnge tq the aescripti?n of the fireann in,itf!m 4, Or anY-change to the address oftlfe regi1,tqrnt.

     Restrictions' on Possession: Any rcstr-iction (m1 a))prvvatbl~ck onji1ce ojjbrm) o~ the poss~ssi~nrnfthe firearm i~en~ified in ite111 4 continu"es _with the further tr8n_s_f~r of,
     the\fireann. •

     ·_Persons Prohibited from Possessing Firearms: Ifthe registrant beq}mes prohibited iTom possessing a -fi~earm, pie_ase ~olltact.the NFA Division for procedures on how tO
      dispose oftf/e firearm.                           '""         •                     • -                    -        ••                  '   •

      PrOOf ~f Registratio_n: A p~rso!l pb·ssessing a ~ream1 r_ygistere<l as re'quired by the.NFA shall retain Proo~ of registrati(m which shall btfmade avciilabl'e to ~ny ATF OOic'er
                                                                                                                                                                                 1
      upon request.                                                                                            •          •                         •

                                                                                   Papen'Vt;ir~ Redu~tion .Act Notice

      This forn~, is In ac_cordance with the Paperwork ReduCtfo11_Act of 1995. 'T(le informatfo11 you prcivide'is used to establ/sh tllat the applicant's making and possession_ofthe
      firearm wciuld lfc in confohnanCe with Federal, State, and loCal law. Th~ data is used as proof of lawful registration of a firearm tq the ~anufacturer. The futnishing ofthts"
      infonnation is mandlttory (26 U.S.C. § 582))..                                            •                                                  .~

      The estimated average burden ussoc;iated with this collectioi1 of infrlrmation is 4.0 hours per respondent ~r recordkeepef, ,depending ·on individual circutllstH~ces:
      Coniments·conceining the ai;curacy of lhiS burden estimate and suggestion for reducing this.burden should be addressed lo Repo'rl~ Management Officer, Resource
      Managenient Staff, Contract and 1-'.orms Section, Bllreau of Alcohol, TObaC~o.'Fireanns and ExPlosive.s,. 99 NeW YorkAVenue. NE. WaShlngton, DC 20226.                 •

      An age_ncy may
                   '
                     11ot c011duct or sponsor, and a person is not reql1irel to
                             _,                                              .
                                                                                respond to; a co.l'lection of information
                                                                                          '     '                      '
                                                                                                                          unless if.displays
                                                                                                                                       .
                                                                                                                                             a currently.
                                                                                                                                                .
                                                                                                                                                          valid 0MB
                                                                                                                                                                 ' .
                                                                                                                                                                 ~
                                                                                                                                                                     control
                                                                                                                                                                        ,
                                                                                                                                                                             nultlber.
                                                                                                                                                                                 .




                                                                                                                                                                         ATF Fonn ! (5320.1)_,
                                                                                                    ATFtopy                                                              Revised December 2022
           Case 3:24-cv-00767-RSH-MSB                                         Document 1-2                  Filed 04/29/24                   PageID.15                 Page 4
                                                                                    of 8
                                                                                    Privacy Act Jnfo"rmation·

  1. Allthority. Solicitatio~ of this ipfomrntion is made pursuant tu the National Firearms·Act (26 0.S.C. :9§ s821 and 5822). ?iscloiiuri of this information by the afiplicanl
     is 111andat01y_ror any persoi1 (other than~ mmmfactuier qualified und\r the Nati~mal Firf.'ami.~,Act) making a tirearm as 1efined in_the National Firearms'A.ct. •      ,

 . 2. Purpose. ,To verify-payment of the tax imposed hy"26 U.S.i.~. § 582.1; to determine that the making would not he in violation i)f law; and to effect r.egislrfitiOn of the
      firearm.                                                                                                                                     •

  3: Routine Uses. ·The /11.formation will be used Dy ATF to ·make the~ detem1inations ,~e_t forth_in paragraph 2. In addition, to effe_ct registt'ation o'fth~• fiream.1, •jnfonl.1ation
       as t_P the ident_ification ofthe_fircann, date of registration, and the identification and address of person entitled to possess the firearm will be entered 1111:o the National
       Fiream1s~Registration and TiansJer-Reco/d. No.information obtained from an ·application; registration, or records required to be submitted by an in.di;tdual in order tb
       comply with any provision of the National Fii·eaims Act or regulation issued thereunder,-shall, dcept in co.tineCtton with pros;i;u_tion or.Other a·ction for furnishing false
       inforllli.ttion,·be used, directly Or indirectly, as cv'iderice against that person JJ1 any criminal pfoceeding with r~esi1cct tb a violation of law·oecurring Prior.to or  ,
       coricurrently with the filing of the ai,pticaiion. Th"e- iriformation from this .iipj11ication may only be disclosed to Federal authorities for purposes of prosecution for
       vioiation of the National Firearms Act.                                                                          •                                     •               ,
        .    '                                                         -                     .                                  .                                           .
, , 4. ,Effecfs of not Supplyihg Inf~rmation Requested. Falture to -supp}y complete information will delay processing and. may cause d6nial of die appljcatiorl_-
                                                                                     De(i1iitions/InStruetions
  1.   Definitions.
                                                                                                        H. Federal Fireaftns ~iccnse. A iiccnsq issued under the Provisions ofthe
           National J?irearms Act (N.FA). Tifl~ 26, United Strites Code, Chapte_f 53.                      GeA to:inanufacturc, import Or dcal·in fireanns. '
           The inlp.Icmcnting regulations arc fol.Ind-in Title 27·,_ Code of Federal -
           RCgulatiOlJS, Pd.rt.479.  •                                                                  I., ATP Officer. An officer or cmpley_cc of the Bureau of Alcohol,
                                                                                                            Tobacco,Fircanns an'd Explosives (ATF) authorized-to pe1fonn any
       B. Gun Coritrol Act (GCA). Title 18, Unitcd-_Statcs Code·, Chapter 44.                               function relating to the administratio~ of the 1';-J"FA_. •
           The implementing regullltio~s arc found in Title 27, COde of Federal
          .Regulati,;ms, Rart 478.                                                                      J. Make. The tdrm "make", and the various dcriyatives of stlch word, shall
                                                                                                            include manufa~turing (other than.by one quq__lified to engci"ge in s·uch
       C. Firearm._ The term 1'fircarm'· means: (l) a shotgun having a barrel or                           ·bysi11esS. w.1d(!r-the NFA),.put,ting together, altering, any combination of
           barrclsiOflcss thfln ~8 ii1chcs in ICngtb; ·(2) a wi.:apOn matlc" from a                         theSc, or otherwise producing ~t fircarrii.
           sb.Otgun if such weapon as modified-has an overall length of [e'ss than:26
           inches- or a barrel or barrels of less than "!8.in'chcs in length; (3) a rifle               K. Reactivation: The rcstm;ation of; rcgistcrc~Ll.ln_scrvi~cabl~ NFA firearm to
           pavitig a barrel or barrels of less than 16 inches ih !Cngth;" (4) a wc!lpon                    a fi.inction.il cmt_~\tion. This action incurs th!,! making tax I/ability
           made·frOm a·1ifle if_such weapon as modified has an ovei-i:ill length of less                         .            •



           than26 inches or a barrel Or bands ofless than I6_inchcs iJ:] leflgth; (5)                   L. Uuserviceable Firearm. On~ which is incapable of,dischargi~g a sho.t
         • any other weapon, as dcfim;d i"n 26 tJ.~.C. § 5845(c); (6) a machinegun;                        by means of an explosive and·incappb!c ofh.cing readily rc;,tored to firing
           (7') a inufflcr or u silencer for any firearm whether or not s'uch firoarm is                   condition. An acceptable method of.rendcfing most firearms unscrviCeablc :
           i~dudcd ','£ithin this definition;" and (8) a destructive dcVicc,as dcfinc_d in 26              is to fusion weld the L"hambcr closed and.fusion weld lhc b;mcl solidly to
           u.s.c.   § 5.84\ (f).                                                                           the:fh1me.
            .                                                   .
        D. Person, ~ 11artnership, c~mpany, ass_{)ciati~m, trust, Corp0T8.ti~n, includi~g               M. Maker. A person ap})J'ying to ma~c an. NFA fircann.
                                                    1
           each Responsible Person-associated with such atl ·entity; ail cstatC; or an
           indiv_idual.
            .             .
                                   '
                                         .       .
                                                        -                                                                                       ~
                                                                                                        N. P;ohibited Person. 'Generali)', l U.S.C. § 9~2 (g) Prohibits the ~hi~mc~t, ,
                                                                                                           trabsportation, receipt, or pnssessi_oTl-in or affecting interstate comm~rcc
            Quali_fied~ As rcfaitcd_ to .a dealer, mah.u_f~~tu~r and~or i~{)orlcr, qiialificd              of a fil'Cann by one who: has bccntonvicicd ofa mi~dcmcanor or crii:nc of
            ri1cans the person _ljccnscd under the. GCA as a dealer, importer, or                          domestic violence; has b(:cn convicted ofa felony, Or any.other ~rime,
            manufacturer also pays the Special (Occupational)_ Tax (SOT), ~hich •                          puniSliab!e by imprisonment for a t'erm ex,cceding one year (fhi~· dues not
            qualifies that Person to als? cng~gC.in the buslncs!. of dealing, importing,.                   include St;te'misdemea1106: punishabfo by imprisonmint oftw9 years or
           ·cir manllfacturing NFA fircanns.                                                               les.1); i-s a fugitive fromjusticc, iS an imla\vfuLllscr of, or addicted td,
                                                                                                           1~arijuana Or ;ny dcprcsllant,- sti!llulant, or' narcotic dmg;. or any other
                                                 -S'cction A                                                c\lntro!led substance; has-been adjudiCatcd as irmcntai dCfoctivc 6r has
        E-: Respop_sibl-e Person., rn case ofan·11nljcensed entity, including Any trust,                    been comniitted to a mental institution;.has be;en dischargedil:om the
              partnc~ship, association;company (including any Limited Uabiliry                              Armed Forces uridcr dishOnorablc conditions, has rcnouncccl his or Qcr·
             Company (LLC)}, or corporation, aQy individual who possesses, directly,                        U.S. c_itiZcnship; i~ aii alien illegally itrthe United States or-a~ alien
              or indtrcct)Y, the po,1/Cr or authority to direct the manfigcmcnt and policies                admitted to the.Unit.Cd Sfates undCr a noninuiiigrant visa; or is subject to'
             of.the trust orcntity to receive~ possess,· ship-, transp.ort, deliver, transfof0r             ccrtai'i1 restraining orders. _FtirthCrmorc, Section 922tn) prohihi1s the
             ot~erwise dispose of a firearm for, or on beh"a,lf of,-the· trust en: legal entity:            Shipmerit, transportatioit. or receipt in or affecting interstate eommerc_c ofa
                    .            _            . Section B                                    -              firearm by one who is- Under indictmcri.t or inforrricitfon for a felony in :iny
              Trust: Those per.sons \'vith the powcr"t1r authority to direct tht,1 l11anagement             Fcdefal, State or _local court, or any other crime, punishflblc by •
              and policies oflhc lrus(in.clu!.ies·any-p'erson who has.the capabllity_lO                     imprisonment fof" ,i tenn exc~eding Ont year. An iiiforrr1ation is ·a fonnal
              exercise sm;:h poWcr and poSse_sscS, rlirCctly or iridil'cctl}', the power or                 accusation·of.a crime verified by a prosecutor. :... -
              <!_Uthority,undcr any trust instmµ1cnt, or under Slate law, to rccqivc,
           ' pos~c~s, ship, transport, deliver, transfer, or otherwise dispm;e of a firearm              EXCEPTION:_ A person who Ila's bccn,convictcd Ofa felony, 01, any other.
            ~ for, orJ(m- bcihalf of tho trust. Examples of WhO may be considered a                      crime, for which tho judge could have imprisoned the person for more
              Jfosponsible Person_inclntie se_ttlorsiirantors, trustees, paftnefs, rrlembcr_s,           than one year1 or who had-been 0011.v:icted o(a fnisdem,canor criinc of
              officcrs,· dircctors," board_l!ictnhers, oc, owners. An cxarpplc Of who may                dom~stio violence, is not prohibited from purchasing, ·receiving, or possessing
              bC Cx<;'ittdcd from this definition of Responsible Pcrsoq is the bencficiftiy              a fircann if:(] ).under the law of the jurisdiction wh_ere thc·conviction oceun-cd, • •
              of a,trust, if the benefici<).ry does not have the capability to exercise the              the persoti has been parddned, the eonvicl:iOn has been expunged or set as,ide,
              eolltncrntcd powers or authoriticS;. •                 -                                   of the person has had Jhcir civ'il rights (the right to Votc;.sit on"ajury, and hold
                               .     .             '
                                   ' '                                       .                           puhiic·office) take)J away and later, i:.estoredANb (2) the person.is not
        F. Employer ]d"entification Numb~r (F..INJ. R~qui~cd of taxpayer filing                           prohibited by the law of1he jurisdiction where the cqnviction occurred
             •~pc"cia1 (Occupationall._ Tax rcfums under 27 CFR § 479,.35.            ·.-                from'rcccjving orpossessingfirCa_nns. Persons subject to this exccJ}tion should
                                                                                                         mark "po" in_ the applic_:abie hox.                                           ·'
        G. Special (Oc_cupatioual) Tax.~ Required by•the NFA to be paid by a
           Federal firc<lnns licensee engaged in lhc btisincss ofi!'<tnµfac_turing
                                                                                                                                                                    ATFForm I (5320.1)
           (Class 2), importing (Class 1), or dealing (Class 3) ln _NFA fin:arms.                                                                                   Revised D~cember 2022
       Case 3:24-cv-00767-RSH-MSB                                            Document 1-2                 Filed 04/29/24                   PageID.16                  Page 5
                                                                                   of 8
                                                                             Deilnitions/Instru.Ctions (Contimted)

  0. Adjudicated As a Mental Def~ctive. ~determination by a COLµ·t, board,
     commissiOn, or othef lawful authoriLy th.al:a person, 'as a result of marked
     subnonnal intelligence, or inenqtl illness, incornpetency,.condition. or.Gisease:                S. ;\lien ,Ad11litted to the United State!! Under a ~onimiuigrant Visa: :An
     ( I ) iS a dangeqo hiliiself or to others; or (2).lacks the menta I·capacity tO c01lt1;ct             alien admitted fo the United States under a nonininiigrant visa includes,
     or manage hiso_~vh affairS. This teim shall inC!ude; (1) a•finding of insanity by a                   among Otheti!, ~ersons visiting-,the United States tei~porarily for bw."i.ncsS
     court hra criminal case; and ·€2) those persons found tncompetent to stand n'ial                      or pleasure, petsons studying in the United States who. maintain a residence·~
     or- found not guilty by Teason of lack of ?"entµI_ responsibility.                                    abfoad. and certain _temporary foreigil workers. These aliens must answer.'
                                                                                                           "Yes" to question 11.d: 1 al1d provide the additional documentation requiTed
  P. Committed to a Mental Institution. A formal commitment ofa pCrson                                      under qltestion -1 j .d.2; .Pl::mianent_resident a)ie-ns and'a!iens legally
       to a mental institution by ll. cOqrt, lmaid, commission. or other lawful                            admitted to the-_United.s'.tales puI'suant to either· the·visa Waiver-Program or
     , authority. The t~rm •includes a commitment to_ a mental institutio'n                                to regulations olherwise exemptirjg them from".vis~ requirements r,nay
       involuntarily. The term foc:ludes connifitrnenls" for ·other reasons, such as                     : answer "No" Lo Lhis queSlion an<l are 11ot required Lo submil the additional
       for drug use. The term does not include a person in a mental i1lstitution                           docume'ntaiion under 11.d.2. An alien adffiitted,to tile UniteO S-futes under
       for obsei'vation or_ a volunlary admission to a 1m;ntal instifotion. . '                            l.l nonimmigrant visa is not prohibited from purchasing, receiying, m
                                                                                                           posseSsi11g a firearm ift11e alien~ (1) is in possession of a hunting license or
    EXCEPTION NICS Improv_ementAmendmentsAct of 2007: A person who                                         p~rmit lawfully issued by the",Federal·Government, a State,-or local
 • .has heen adjudicated as a mental defective-or-committed to a mental                                  ··govemrrient, o;r an Indian· trib'e fedet'ally recogniZe·d by the Bureau of Iridian
    instjtution-in-a ~State-proceeding i's not,prohi~1ited·hy the ·adjudicatiOn or                          Affairs, whic_h is v_alid and _unexpired; (2) was admit~~d to the Unit.ed Staid
 • commitment ifthe person-has been gran1ed relief bv the adjudicatil1g/                                    fo,, lawful.hunting or sportii1g purposes·; (3) is an Official representative of
    coinn;itting State pursuant to a q{u_tlifYing·mental h~allh relief fff>m disabilities                   a foreign government who is accn...-ditcd t~ the United StatcS G<)venmicnt_
    program.'· Also, a perso1i who has been adjudicated as a mental defective or
                                                                 0
                                                                                                          ·or the Govemmerit's inissjqn to an iniemational organization having its
  ..committed to a ment~l instliution ·by a departnwnt Or agency ·of the FederaJ_,                         headqu.mtels in the United ·States; {4) is ~n official representative Of a
                                              1
    Govetmmmt i~ not prohibited hy tht:: adji1dication .<)r comrnitment if eithef: (a)                    .foreign govel11metit who is en route to ,/r from another cquntry .to which
    the--perso11's ;djud~ation or ·~omr~itmqnt was set-!lsidC Or expunged by tl-ic                          that11lien is accredited; (5)-is an official of a foreign governinent or a
 "'adjudicating/committing agency; (b) the person has beeril-hll)i 1:ejeased or                             distinguishe~ 'foreign viSitot whO has been so designated by the
    discharged from all mandatory treatment, :,upervision, or monitming by~the                              Department of State,; (6) is a forei_gil la\v.enfofce.ment 9fffoer of a friendly
    age_ncY; '(c) the pCrsun was f~und bY the agcincy Lo no longer suffer from the                          foreign governme.nL cn_tering the United SlaJ<:s unofficial law eriforccment'
. mentat: h"ealth condition 'th~t setyed as the basis o( the Initial adjudicationi                          busine~S; (7) has r~_ceived a waiVer.from th~ prohibition from the Attorney
 ' coinmitment;·or (d) the adjudication or' c~mmitment;respectively i:,.based                            , General of the United States.
    soleiy'on a mec\i~al finding of disability. without ari opportunity for a hearing
    by .a cOurt, board, co1l1mission;.or other lawful authority, and-the person has '                - T F'ugith·ct, from Justice. Any persOn who h~s fled from 'any siate to avoid
    not been adjudicated as a mental .d_efective consistent with sectior_1 922\g)(4)                    ' prosi;cution for afelon}' or a misdemeanor,_or any persOi1 who kave~ the
    ·of title 18, United States Code; or (e) the pers(lll was granted refieflhfm the                      State to a_void gjving testimony in any crim'iual proceeding. _The tenn also
    adJudicating/comnlitting agenCy pursuant to a_qualified mental health_?elief                          includes ai1y p_erson who -kno~;s th~t misdemeanor or· felony charges are
     frOm disflbilities program. Persons-Who fall within one of the above exceptions                     )ending against such persofl a:1d wh9 leaves !he 'Stat? bfproscc.ution.
    should mark '.'No''--in the·applicable box·.. This· exceJJtion to' an adjudication
    or Coml1]itment by a FedCral dqlartment or agency doe!;! not a.ppty to any                    2."- Prcparati~n of J\p!1lication and Payment o(Tax:-
    pe'r~on Wh.o was adjudicate.ct to pe noi guilty by reason ofinsanity,'Or based
    on a lack ofmerital responsi\>ility, or found'inc'on1peten1 to stand trial, iii a!1y_             A. Authority._ As provided by 26 lJ.S,C. § 58-22, any person (Other than a
    crim)nal case or under the Uniform Cade-of Miljtaf)' Justice.                                         qua/ijied maflujc1cturer offin!arms (.~ee paragraph b)J,seeking to make a.
                                                                                                         ,firearm m1,1s-t subinit, iri duplicate, a separat.e application on-this JOrm
   Q. Restraining.Order. Under 18 U.S.C. §"922, firea.I11ls 1i:,.ay not be sold to                        for each firearm. ,The applicant maker most fumish all the infonnat.ion
        Or received-by persOns subject to a court ~rder that: (A).was issued afler                        called for, except as-noted by instruc!ions 1:Yithin, on this.application fofrn.
        ~; heari~g which the person receive4 actqal notice of and had jtn           ' •                   Please note that the. form now corytains a ·3rd (CLEO) copy of the fonn fof
        oppoi1unity to participatC in; (B) restrains ~uch person from harassing,                          use in compliance-riith instructiOn 2g__and itCm lO of the form:
        st~lking·, of-threatening an intimate partner or child of such intimate partner
        O\' person, Or engaging in other _conduct that woutd place an fntimate partner                H. Registration by Qualified Manufac.turer. A person who has a Federal
        in reasonable fear of bodily injury to the partner or child; and (C)(i)                          firearms license to manu.factufe firearms (Tvpe Q7 or JO) and whq !fas pai<l•
        includes a finding that such per~dri•represents a credible threat tfi the                        Special (Oci:11pqtional) Tax to manufacture NFAfireahns is exerllpt from.tht
        physical Safety of such intimate partuer of chilli; or (ii) b.y its·t~nns                        making tax mid filing of the ATF Form 1 applicatio.[I. Stich qualified
      ·explicitly pi,:oh_ibits the.tt~e, attCmpted use, or th,reatened use of physical                   manufacturer must report and r~gister e~ch NFA fireann manllfaCtured by'
        force,against such intimate partner or child th_at would reasonably be                           filing.A.TF Fonn 2. Notice ofFireanns Man,ufactured or Tmported, as
        expected ro cause bodily ill.Jury. AO "intiinate partrier" of a person, is; the~                 required-by 27 CFR §. 479.103.                         ,
       'spouSe or fom1"er spouse of the person_, the parent of a child onhe person,
        or an individual who ,cohabitate"s o·r has i;ohabitated \\;ith the ·person.                    C. Payment OtmXe1ilption 'from-Payment ot'.Tal(. As provided in 26 U.S.C.
                                                                                                          § 5821,_there is a ~ax . on, eaCh ·fi.rearyn made. The reacti~ation of a registered
   R. Misde_me~nor·tri..,ie ofDomestil'. Violence. A Federal, State: local, Tribal                        ui:iserviceable firearm js-arim subject to the -mitking,tax under thj~ provisioll.
       offense 'thati;:; fl misdemeanor Under Fed.era!, State, or'Tribal law-and        ·,                                                                     /·
       has, as an 'element, the use. t)r attempted uSe ofphYsical force, or the                           Tille 2611.S,C. §§ 58,?2 and 5853 exempt~ the making tax when an NF'A
      ·threatened use of a deadly1 Weapo~,' cm!'mittt:d by a cunent or f01:Q1er                           firearm may be made without payment of the tax whe_n inade·by, ·or on
       spouse, parent, oq;uardian of the victim, by a person with Whom·the •                              behalf of the United States or any State or'-pOlitical subdivision thereOf
      victims-Jut.res ii child in con'unon, by a pefSOn cohabilating with, i.lr has                       D~currten'tation that the .firearm is being n'mde for.a gqvemment entity;_such
       cohabi!ed with tl)e victim "as a seouse, parent;~r guardiao,-Or. by a-person                       as a United States contract or a State or l_ocaf go\lernment agency_purcliase
       similarly situated to a spouse, pan:.:nt, or gttatdian ofthe_victim;~oi by a                       jrder, must accompa,ny Lhe a~plication.          •                       ,
       Person who h,as a current or recent fonner dating relationship with the
        victih;i (as defined in 18 U.S.C. §. 921 (a){37)). The term includes all                           Title-2·6 U.S.C §§ 7801, 7805 autborizCs the Attorney General to exCmpt
       misdemeanors that have as an clement the Ltse Qr attempted use                                      tax urlder thc,National Fircanns Actjn limited circumstanCcs. This
       of physical force or the threate~OO use ofa deadly weapon _(e.g., assault                           exemptio11 appi'ies wh,en'the Attorney Ge1lernl ;rnthorizes a tax exemptio11
        {Ind bllttery), if the offense is committed ~y one of the defihed parties. (See                    to inividuals for the making Of specific NFA fireanris ·by fuling, regulation,
        Exception -inJhe definitirm of "Prohihited Perwn '). A pemm Who has                                or othel' notice'. Documentation must be pnwided. that the firearm listed on
       beon cOnvicted of a misdemeano~ crime of dornestk violence also is nOt                              the ATF Fonn 1 ~-ills within thC.parameters of !he Attorney GenCr.l-1
       ·prphibited lmldss;.( l) the person W<Js·represeot_ed by a lawyer qr gave up the                    a~1thorizatioti.                              '
        righf to a lawyer; or (2) ifth) person was entitled to a jury, was tried by a •
        jury, or g'ave up.the right tu ajL1ry trial. Per~ons subject to this _exception
                                                                                                                                                                    ATF Form l (5320.1)
        Should mark"1~0" in the "appJicable box.
                                                                                                                                                                    Revised December 2022
     Case 3:24-cv-00767-RSH-MSB                                          Document 1-2               Filed 04/29/24                      PageID.17                    Page 6
                                                                               of 8

D. Co01pJetion of Form (.lVf1te:'1Vpe 03 lkensee mu.-.tf<,l/ow indb 1idut1l                       the NlCS backgtound check. Please be awai~ that 'refoSal to provide th.is
   instructions)        •         •               ,                                               jnfmmation may result~in a delay in rl1e NICS bai;kgromi.d check pmcess.
              '
    ~ I) The al)p!icfill_t shall provide ihe applicant's fu~ legal.name Lo                    G. Signatures. ·All signatures ~quired 01iATF Foffil I mw;t be origihal in ink
        include middle-and niailing address in item,.1b. If a post office box                    011 boih copies. Exceptions: In the case of efonns-on where a variance Jm
        address _'i;;;\1Sed, the·physical address shall be entered in.item 3c.                   been granted a Digital/Electronic Signatunrplay be U5cd.
        If the applicant-is.a trust or legal entity, show only the complclc
         name of the triist or leg8! .enfity and do not include any individ~ml                    ~(1) '.if the appl~cant is an;i.ndivld~al, the ~ppliCant sh~ll sign the form;
        names (mch as 11ames o.(trustees or corporate ojficiffls).                                                                                         .                   .
        The address shall be the_ locatioll ,,)Hhin the' partic"nlar Siate                      _ (2)_ if tlie. _applicant i~ a tr~st odegal ~ntity, a feSpoflsiblt: person {ir't11e h·ust
        where Jhe firearm will be maiutahied for a trnst or Jegal en"tity..                            or legal entit! shaH sigµ the form;              '•
        In d:ie ca'se of lwo or more locatfons-for a legal enlity,·the addr.m.s
         $hown &_hall be· the jJrincipal plgce of business within the paiiicular                   (3) if the applicant is a Federal firearms licensee, a responsible pe~soii. of the
         Sl:ate (or_principul offi~-0, in tl!e case ofc,1-c,•<jrporationj.                           - Fedi.:ra/ firear;rn; licensee' ~hall sign the fon~: or-.

    (2) If"th~ applicant ts an individual, the ei1tire Form. 1 shall -~e cori1pleted_              (4) i'fthe applica1~t is ago~ernmeiit e;tity, a person who has a aut~ority fo
        except for items 18 and 19. In addition, the applicant ril.u:-;t .include                      sign for Lhe entity shal_l Sign lhe forrn. •
        his or her fingerprints'on·FBt Form fiD-258 anti his or her photogfa'pi)s-
       •(.see_in~tru_ction 2g).•                                '                             H. Law·Enf0rceini:-11t Notification. 'fhe·applicant must provide a copy of.the
                                                                                                 ·Fom1 l to the Chief Law E-nfoi,:cement Officer (CLEO) who has                 '
    (3) ,lfthe appll.cant mee!s tj1e definition of a R~sponsible Pers9~ for_ a -                 jpfisdiction over d1e area.of the applicant's.address shov.:n in item 3b of the
       ' 'legal entjty (see d1;finition I.e.); see-2.d.5. for RespoD.sible_·Person                Fonn 1. In·actdition,.ifthe apPiicanl ii; other tllan an i.iJdjvidual, a copy.of •
         Requinllents. Individuals muSt conlpiete items 11-17 ·and sign the                       the Form 5320.23~·Natio1lal foireanns ACL (NFA:J-ReSponsible Person               ,
         ,Certification Statcmc1ii.                                                               Qucs.rioiinaire, fol' each Responsible PersO!l must·-bc _pr~~idcd to their
                                                                                                  respecLiv'e Chi1:fLaw EntOrcenient Officer. The Chief Law Enfurcement
    {4) Doculnentaiion ofeiitit)' existence: (a) If the appJic~mt is other than an                Officer is considei-ed to·be the Chief of Police; the Sheriff; the i-Iead'of the
         jndividual, the applicmlt must attach.documentation eviden~ing the ~nee                • Stat~ Po lie~: ot a State of loi;al district attotne)' or prosecutor.
         and validity of the entity, which int:ludes complete an:d unredacted copie1;                                      .-        '        ' •              '
        -of parm.eis11ip agreements, iu1icles of incorporation, corporate registrufiun,       L Re'mittancc. _If the application is ,:,ubject to the· $260 milking tUx,·please
         declarations of trust with'any,trl!St scfiedules, attachments, exhibits, and             coll1plete item 20 of the f..TF Fofm I. Pk:ase note. lhat yOu may pay-_1'.he t!lx •
         encfoslLres. (b) If the applicant entity has· bad mrappliCtltion approved as a           by credit/debit card, Check, or money Order. The check or 1Iloney order ls
         maker or ti'ansfo!Ce within the p~Cding 24 months-of the date of filing                  to be m.a~e' jjayabl~ to AfF. Do' not send cash.
         this applica,tion, and there has bee11 mtch~ge to1he documentation
         evidencing the exjstence and v:alidity of the entity previously pl·ovide<l, .             photocopies,,Compufer Generated Versions or-'Dowl\ioad Version.
         the entity_may provide a certification that the infomiation has not-been                  Th'1 fom_1 fnay be copied or downloaded (/Or example, jYom the ATP website
         changed since the prior ajlproval aad sh~1ll ident_ify the application for .              (ww.')v.atfgrJl')). Th(! form does !}01 have to be ptfate? front to bac-k.
         which the documeritation had been submitted by.form number,- serial
         number, and date approved:                                                           :K Description ofFtrearlll and M~rkings. (I) Hem 4a. If you ar~ modifyiog
                                                                                                  an-existing fitearm, enter the name and location ofilie 9riginal·manufacturcr,
         Note: An entity-licen;ed imdet the Gun Control Act (GC-1.) ,that does noi                If you are ciearing the fi_reann, e11ter the Maker's-name, city and State.
         pay. the Special (Occup9tional) Tak (SOT) imist submit docm.nentation                    {~) Ite1Il 4b., The typ_es of~FAfirearms are !isled in th§ definitions;'(3)

         ~~                                       •••                   -
         of entity existenl-e Ils required in the _fl'bciv~ paragraph 27 CFR ·s 479.63(b)         Iteni 4c. specify. one caliber or gauge. If then;-is another "designation,
                                                                                                  indicate the desigriation in it\':ln 4h. (4) Item 4d, Show the model
                                                                                                  designation (if know11). (5) Item 4e and 4f. Specify one bm-re~ length and
                                                                                                  overall length in"ite1ns 4e-a.nd'4f as applicable. Note: if the fireann Has-a
    (5) '-If lhe applicant is olher than an indi~idual, each Responsible Person                  •folding or collapsible stock, the 0"".ernll measuremenl is lo be made with
        (see defiriition I e).forthe trust 'or legal ti1tity must incl Ude a_completed             the st.9ck extended. {6) Hem ~g. Do not.alter or modify tGle serial number
        ATF Form 5320.23, Nlltional Firearms Act (N°FA) Respom;ible Person                        of an.existing firearp.1. Et1ter the ex,is\i1.1g serial number or, if a llew
        Q~iestionnaire, with. lhe submitted Form 1..-                                           • P,rearm, 011e .you create, .(7) Markings: The m<jk.er is reqllired lo mark the
                                                                                               • fire_ann__wi_tl1 the MakCr's.name,,,_Ci_ty and_~1ate as sµow~ in i_t~m_3b. All
         Not.e: Each Respo'nsible-Pcr~on Of an entity-li~ensed,-under the·Gun, •                   markings are to bC' in Compliance wit1lncFR §§ 478.92 and 499.I0.2.
          Control A<.J (GCA) that does not pay the Special (OcGUpational)                          Do not alter or .modify the serial number of an existing fireri,rm. :f,:nter the
         Tax (SOT). rimst submltATF Form 532().23 with the q,pplic_ation as                        ex~sting serial nutllber, or if a new firearm, one ypu ere.ate: The Maker may
          in~tructCd in lhc abOvc paragraph 27 .CFR·§ 47f63(b)(2)(!i), •                           not duplicate any s~rial n\.nilbcr placed by the .Maker on an)' other firearm.
           .                                          .     .               '                      See 27 CF:R § 479.102. •                                       •
     (6} ltym 18 (MetJtod of Payme!-)t) is obscured on the ATF copy 2
          (R"egistralit) and.the;;; CLEO copy. In addition, item 4g (serial number)           •. L, S,tate or Local Permit. If a State pr~local pe,mit or license is requited before
          is obsctired on ,the CLEO cop)'. 'rhCse fields do not rCquite completion
                                                                          0
                                                                                                     the making of the-fire"arni, a copy of the pennit or license must be submitted
        , on these copies. • -             -      •'                          '                      with the applicatioll. lf lhe a!)plicaht is a: trust or leg<!l entity, wj1en the State of
                                                                                                   • 1:e8idence or l!.ny.Responsible Persol). ~equires a State or local perinit or licei\se,
 E. .Photogrl.\ph'and fingerpri,tlts and Pliqt9grapll. A.n 'individual app-lic,1nt                   11 copy of1.he permit oflicensemuSl be submiue<l with Fohn 532023, National
    or Rj!sponsib!e Per.smis qf,a'legal entit3: applicant must, (0 a/tach to it'erll                 Firearm~ Act (NFA) Responsible ,Pefson ~1eslionnaire.
    15 of the ATF Form I, a 2 inch x 2 inch p.µqtograph of the frC111tal view
    oHhe t:ransfere✓e taken wfrhin I year prior to 'the date of the application                M°. Compliance nith f'xplo~ives _h,ws (18 U.S.C.,Chapter 40) and.regulations
    and (2) submit two properly e,Ompleted FBI Fonns FL> 0 258 ,(FingeqJi-int                        (27 CFR Part 555). ·If tlie _application is for a Destrnctive Device'utitizing
    Card _with blue· line~) with the application. The fingerprints must be clear                     explosive materials,_ check the ExplosivCS'box in i_tem-4.j and provide the type($)
    for acCu_rate qlassification and taken by someone proJ)eriy equipped to take                   . ofCxp!~)sive5 to be used." If.the apJJlicant is other than a govemment"agency, '
    them.                      '                                                                     item 5 must be completed with an:· explosives license'or perm.it m_imber issued to
                                                                                                     the applicMt_. Uthe applii:ant is other than an individua~ such as a kgal en lit}',
     Note: Each Responsible Person of an entity licensed under the Gun Control                       and does notlmVe an expfosives lice11.~e or pennit, tl1en ~ Re.sponSible PerSOn
     Act (GCA) that does.1l.ot-pay the·Special (Occlfpafionp[) Tax (SOT) mus't •                     for the applicant.must have a li~e1ise or pennit and enter the inforrnati01l in
    -submii.fingerprints and photographs with tb_e appliCation as instruct~d in                      item 5: To comply with the explosives laws and regulations, any nlember ofa
     the above paragraph.27 CFR •.§ 479.63(b)(2)(.iii){iv).                                           legal ~ntity. must al~ be ideqtifie<l as a Responsible Person or Eniployee
                                                                                                  ., Possessor on the cxp!Osives licenser or pcnnit. A tnist cannot bC issued an
 F. Social_ Security and UPP.-/. The s'ocial$eeurity nwnbe{and UPIN are                              explosiveslicenseorpennit.· •                              ATFForm 1 (5320.l) ..
     not required._ Howev'er, tllis information assists with the efficient completion <;if,                                                                       Revised December 2022.
               Case 3:24-cv-00767-RSH-MSB                                     Document 1-2        Filed 04/29/24      PageID.18            Page 7
                                                                                    of 8
         N. Submission. The Maker .shall submit 2 complete forms (ATF copy -and
            registran't copy) With ori,ginal _signatures to the N·fADivision at the address-
            on the face of the form. The applicant shall direct a· 3rd complete copy
            of'the fonlYto the ChiefLOcal_Law Enforcement.Officer (CLEO) as
            provided in instrnc~ion 2g and item l 0. ,

  3.     A~pro,:al of Appli~ation. Upon a~proval ohm application, Ille NFA DiviSion ·
                                        ar
         will.affix the NFA tali stamp any) to the application, cancel it, and re-turn •
         the approved·copy to the Maker. The;appfoval of the application effectuates
       , registration of the firerinh to the Maker; howe.ver, the firearm must not be ,
         made until the applicant has _been approv1::cl.     •

 4.     Witiuiral\_:al of ApplicatiOn. The Make1: may withdraw the application prior
        lu ilp'pro~val ·by thp su~missio11 u_f a, &_igncd, writtcu-· rcquesl lo Lhe _d_iei~ NFA
        Division i::itller by maif to National Fireanrls Act Division, National Service·
        Center, 244 Needy_Road, Martilisburg; WV 25405 or by em;iling·11 signed
        copy to nfofax@atf:gov, the NFA Division will arrange f01; a i:efund of <;1ny 'tax
        JJaid.                                                        •

 5.     Caticellation Of Appr,ovcd Application. An apprOved appli~ation may.be
        canc~lled onl)' if the firearm had not been made or modi:fie,d. The Maker uiust l'etum
        the approved application with oiigilial-lax.--StaJ:np-atfixrid-with-a-\v'litte1-i:'.reqUest~fo,c-----------~-~----c--~:--~----;,~~-------;---:----c---
       •Cfmcel!atiOn; -citing the need and that the 111a!;irig of the' fireann ~id not take place.
        'fl1C NFA Division will arrange f~r a refund of any tax paid.

'-6. • DisapJ)rO\;a'tol'Apfllication. If the application is disappfoved, the NFA.
       Division will note the reason for diSapproval 011 the· applicatioh and return One
       cop)' to the Maker: The,~FA Division ~iU a1rnnge for,a 1:efun<l_bf~uiy t_~.x ~aid.

 7,     Reason tor Disapproval. 26 U.S.G. § 58-22 provides that applications·
        shalt be denfed if the making or pos~ession of the.firearm would place the
        Maker in ViOlation.of law, -             •                       '

        a, Violation ·of,l,.!lw. Applications shall be,denied ifthe making or
           possession of the firearm would plaac the_pcrson making,¢.e firearin 'in
           violation oflaW.1

        b. Machineguns. 18 U ,ST. § 922 (o) provides that a machinegun may be
           made orily for- govcrnffient use or export. An applicatioh wiH be' denied·.
           unless thc·maklng m~ets these criteria.

        c.- Persons.Prohibited from Making :r mre3rm. The application will be.
        • disapproved if the Maker is a j:)ersori prohibited from posses~ing a firearm.
            For infoimation regarding persons prohibited from p(issessing·a fit:earm~
            refer to definitions in il~i'ougj1 It.              ,

 8. • J'.nq Uifics. _information relating_to 'the ~~A and other firearmi laws is available •
           0




      at theATF Internet website at www.atf.gov. Any inqyiry relating to the status
      of an application to lransfer an NFA fireann 'or about procedur'es in general
    / should be'directed to the NFA Divisio·n at (304) 616-4500 9r emailed to
      NJ:A@ATF.GOV. Please be aware that anyL·<ldi,ss~se~mu,i!;·n!ll!it'~·i.,i:~,ll'-'1L'---,---_;._-,-,_,:__ _--,-___""'."___...,;""'."_ _""'."___'--:"----~---:---:-,--,
    lliformation relating to the, applicatioff to tegister an NFA firellni1 must conform
      with 1he restrictioris in 26 0.s.c. § 6103.                          •      •

 9.     Pcn.altles. Any person who violates or fqil_s t9 comply.whli any ofthe
        requirements of th,e NFAshall, upon conviction, be fined notmorc than $10~090
       .or be itflprisoned_ for not more than 10 years, or both, Any ~r,eann invoived
       .in a·violation of the NFAshaU be subject to seizure and fprfciturc. It i:f
        unlawful-for ·any per~on to mil.ke or c~Use thi making of a false entry on anY
        application or record ~equirerl by the N.FA_knowing_ suCh entry to be false._

•10. -C,oml}liaitce with the Gu_n Control Act. Person must alsO Comply with ~H
      relevant portions of the qcA.




                                                          '



                                                                                                                                        ATF Forni 1-(5320.1) 1
                                                                                                                                        Reviseli Decembei 2022
       Case 3:24-cv-00767-RSH-MSB                      Document 1-2 '' Filed 04/29/24        PageID.19    Page 8
                                                             of 8
U.S. Department of Jl.lstice
Bureau. of Alcohol, ~obacco, Firearms anQ Explosives                               COntrol
                                                                                   Number:   2024610201



                                                         Reasons For Disapproval




       ';
